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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION



 ------------------------------------------------    :
 UNITED STATES OF AMERICA                            :
                                                     : CASE NO. 5:05 CR 131
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     :
 DAVID WYNN                                          : ORDER ACCEPTING PLEA AGREEMENT
                                                     : AND JUDGMENT AND NOTICE OF
                                      Defendant      : HEARING
 ------------------------------------------------    :

UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge James S. Gallas regarding the change of plea hearing and plea

agreement of David Wynn which was referred to the Magistrate Judge with the consent

of the parties.

       On 16 March 2005, the government filed a one-count indictment against David

Wynn for conspiracy to possess with the intent to distribute and distribution of a

controlled substance in violation of 21 U.S.C. § 846. On 14 April 2005, a hearing was

held in which David Wynn entered a plea of not guilty before Magistrate Judge James

S. Gallas. On 12 May 2006, Magistrate Judge Gallas received David Wynn’s plea of

guilty and issued a Report and Recommendation (“R&R”) concerning whether the plea

should be accepted and a finding of guilty entered
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         Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

         On de novo review of the record, the Magistrate Judge's R&R is adopted. David

Wynn is found to be competent to enter a plea. He understands his constitutional

rights. He is aware of the charges and of the consequences of entering a plea. There

is an adequate factual basis for the plea. The Court finds the plea was entered

knowingly, intelligently, and voluntarily. The plea agreement is approved.

         Therefore, David Wynn is adjudged guilty of Count One, in violation of 21 U.S.C.

§ 846.

         Sentencing will be:

                       29 August 2006 at 3:30 p.m.

                       Courtroom 18-A
                       18th Floor the United States District Court
                       801 West Superior Avenue
                       Cleveland, Ohio 44113



         IT IS SO ORDERED.


                                          /s/Lesley Wells
                                          UNITED STATES DISTRICT JUDGE

Dated: 2 June 2006




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